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                          IN THE UNITED STATE DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF OKLAHOMA

DUNHILL PARTNERS INC.                                §
                                                     §
         Plaintiff                                   §
                                                     §
v.                                                   §
                                                     §
AMERICAN HOME ASSURANCE                              §   CIVIL ACTION NO.          18-CV-57-RAW
COMPANY AND SCOTT CLOER                              §
                                                     §
         Defendants                                  §

                              PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

         Plaintiff, DUNHILL PARTNERS, INC, (hereafter “Dunhill”) files this complaint against

Defendants, AMERICAN HOME ASSURANCE COMPANY and SCOTT CLOER, and would

show this honorable court as follows:

                                                I. Parties

         1. Plaintiff, Dunhill Partners, Inc. (hereafter “Dunhill”) is a Texas corporation doing

business in Oklahoma.

2.       Defendant, American Home Assurance Company (hereafter “AHAC”), is a New York

insurance company doing business in Oklahoma, with its principal place of business in New York,

New York. AHAC is licensed to conduct business in the state of Oklahoma and may be served with

process through the Oklahoma Department of Insurance, at its home office, 70 Pine St. FL 4 New

York,    New         York   10270,   or   at   its   mailing   address,   175   Water   St,   FL   18

New York, New York 10038.

         3. Defendant, Scott Cloer (hereafter “Cloer”), is an Oklahoma resident and insurance

adjuster whom can be served at his place of employment at AIG Claims, 19837 Oakshire Dr.,

Edmond, Oklahoma 73012.


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         4. The Court has jurisdiction over this dispute pursuant to 28 USC §1332(a)

                                II. Agency and Respondeat Superior

         5. Whenever in this petition it is alleged that the Defendants did any act or thing, it is

meant that Defendants themselves or their agents, officers, servants, employees, or representatives

did such act or thing. They were also done with the full authorization or ratification of Defendants

or done in the normal routine, course and scope of the agency or employment of Defendants or

their agents, officers, servants, employees, or representatives.

                                        III. Facts of the Case

         6. Dunhill purchased a multi-line GL/Property insurance policy from AHAC (Policy

Number 021565675) to cover property losses at Dunhill’s property for the policy period June 22,

2015 to June 22, 2016 (hereafter, “the Policy”). On or about April 11, 2016, during the subject

policy period, wind and hail storms caused substantial damage to Dunhill’s property located at 913-

1027 W. Main St., Durant, Oklahoma 74701. Dunhill thereafter reported this loss to AHAC and its

agents who assigned this loss the claim number of 9107218661US, with a date of loss of April 11,

2016.

         7. On or about June 6, 2016, AHAC engaged the services of Scott Cloer, general adjuster

and estimator for AIG Claims, Inc. (hereinafter “AIG”) to perform an inspection of Dunhill’s

property damages as a result of the wind and hail storm. Dunhill believes that AHAC hired Cloer

and AIG because they are biased and knows these adjusters will give AHAC low-balled and result-

oriented estimates on which AHAC can deny or under pay an insured’s storm damage claims.

         8. Thereafter, on July 5, 2016, AHAC and Cloer hired PT&C Forensic Consulting Services

(hereinafter “PT&C”) to investigate and report on the severity of the windstorm and hail damage to

Dunhill’s property from the April 11, 2016 storm. In an August 10, 2016, report PT&C concluded

that the roofing exhibited isolated hail related damage in the form of fractures in the modified


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bitumen membrane observed at an average of 1 hail impact per square to the roofs. PT&C also

noted damage to the roof mounted mechanical units, metal roof covering, and damage to the

bitumen roof membrane.

        9. Based on this report, in an August 15, 2016, Cloer estimated the cost of the storm

damage repairs to Dunhill’s property at only $57,487.30. After applying Dunhill’s deductible,

AHAC determined the net claim was below the Policy’s deductible and as a result no payment was

issued. Even though AHAC and Cloer noted damage to the roofs and HVAC, they still provided a

low-balled estimate for the damage resulting from the April 11, 2016 wind and hail storm. Dunhill

believes that AHAC hired Cloer, AIG, and PT&C because they are biased and knows these adjusters

and engineers will give AHAC low-balled and result-oriented estimates and reports on which AHAC

can deny or under pay an insured’s storm damage claims.

        10. Believing that AHAC and AIG low-balled his claim, Plaintiff retained Gary Treider of

Chaparral Consulting and Forensics, to inspect and assess the damages to Plaintiff’s property as a

result of the hail and windstorm. On August 21, 2016 and August 22, 2016, Mr. Treider inspected

the property. In an October 16, 2016 report, Mr. Treider concluded that (1) hailstorms producing

hail from the southwest, northwest, and northeast had occurred recently at the Plaintiff’s property

with the largest hail spatters being slightly larger than two inches in diameter; (2) a car dealership in

close proximity had hail damage from an April 19, 2016 storm based on Mr. Treider’s interview with

the car dealer; (3) the hail from the April 19, 2016 storm was irregular in shape and the sharp edges

of irregular hailstones that increased the potential for hail damage to roof membranes; (4) the largest

and most significant hail at Plaintiff’s property was confirmed to have occurred on April 19, 2016

from the northeast based on visual observations of: directional hail spatter; the direction, angle and

severity of hail scuffs on wood fencing; and the shape and direction of AC cooling fins dents, and

matching those observations to available data and wind records; (5) a sample of the modified roof


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membranes confirmed that hail caused fractures on the bottom side of the membrane, which is

typical hail damage for APP modified bitumen membrane; and (6) the membrane did not have

corresponding granule loss at the points of hail impact so finding all of the hail damage was not

possible for making effective spot repairs. A copy of this report was submitted to Cloer in an

October 17, 2016 email.

       11. In a November 1, 2016 email, Dunhill informed Cloer that Dunhill would like to resolve

this issue as quickly as possible to prevent roof leakage since the property was about to be going

through rainy season. AIG requested that Envista Forensics (formerly PT&C) conduct a

supplemental inspection of the roof for hail damage and procure test samples from the roof for

laboratory analysis to be conducted by HAAG Research and Testing (hereafter “HAAG”). Dunhill

objected to sending samples to the lab for testing because this would cause undue delay, and insisted

that visual observation was the protocol set by AHAC’s own engineers. However, AHAC and its

adjusters insisted that the only way to move forward was to provide samples for lab testing and

assured Dunhill this process would be expedited.

       12. A supplemental inspection occurred on November 3, 2016. Samples were taken by

Envista, on behalf of AHAC and its adjusters to be provided to HAAG. Also present was Plaintiff’s

general contractor, Tice Enterprises, who obtained its own samples for testing to be conducted by

APEC Engineering & Laboratory, LLC (hereafter “APEC”) on behalf of Plaintiff and Madsen,

Kneppers, & Associates (hereafter “Madsen”) sent on behalf of AHAC and its adjusters to provide

an HVAC repair estimate.

       13. HAAG provided its report of findings on January 19, 2017 and based on this report,

Envista provided a supplemental report dated February 3, 2017 stating that after reviewing the

laboratory analysis it concluded that the modified bitumen roof covering on Plaintiff’s building was




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not damaged by hail. In a February 8, 2017 email, Cloer informed Plaintiff that no additional money

or repairs would be approved for the roof.

       14. On February 11, 2017, Madsen estimated the damages from the subject storm to the

HVAC system of Plaintiff’s property at $88,925.94. Based on this estimate, Cloer revised his initial

estimate and on February 22, 2017 re-estimated the damages at $147,384.13. After applying

Dunhill’s deductible of $100,000.00, AHAC determined the net claim was $47,384.13. On February

25, 2017, AHAC issued a payment for this amount to Plaintiff.

       15. Believing that once again, AHAC had low-balled its claim, Plaintiff had APEC move

forward and conduct its own report on the roof samples provided by Tice from the storm damaged

property. Ten samples were provided from the roof. The samples were analyzed on March 15,

2017. APEC’s laboratory results summarized that all samples had breaks, cracks and fractures in the

cap sheet, plys, and base sheet consistent with hail damage. All ten samples showed actual or

possible liquid penetration showing that the roof cannot maintain its intended function after the

April 2016 storm. This report showed that the damage to the roof was far greater than AHAC and

its adjusters claimed it to be. A copy of the report was forwarded to AHAC and its adjusters in a

June 19, 2017 email.

       16. AHAC and it adjusters requested that Envista provide a second supplemental report

based on APEC’s findings. In a July 31, 2017 report, Envista stated that after reviewing the

laboratory analysis provided by APEC, it had no changes to the previously issued conclusion stated

in its initial supplementation in which it determined that the modified bitumen roof covering on

Plaintiff’s building was not damaged by hail.

       17. On August 10, 2017, Tice determined that the reasonable and necessary cost to properly

repair the windstorm and hail damage to Plaintiff’s property was $2,384,765.11 less Plaintiff’s

deductible of $100,000 for a net claim of $2,284,765.11. Tice determined that the April 11, 2016


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storm caused direct physical damage from hail to the property’s exterior, roof, metal wall panels,

electrical, plumbing, equipment, and HVAC systems.

       18. To date, AHAC and its adjusters have failed to fully and properly pay Plaintiff for all the

damages as a result of the April 11, 2016 hail and windstorm. AHAC and its adjusters failed to get

back to Dunhill to properly resolve this claim. AHAC knew or should have known of the storm

damage and their liability has become clear. AHAC has used many methods to deny and delay

proper payment of the claim.

                        IV. First Cause of Action for Breach of Contract

       19. The acts and omissions of AHAC and Cloer in the investigation and evaluation of

Plaintiff’s claim were unreasonable.    Defendants AHAC and Cloer arbitrarily and capriciously

breached the policy of insurance issued to Plaintiff by failing to pay benefits due it under the terms

of the policy. As a proximate result of AHAC’s and Cloer’s breach of contract, Plaintiff has suffered

damages and other losses in the form of policy benefits, financial losses, financial hardship, attorney

expenses, and other incidental damages, exclusive of interest and costs.

                               V. Second Cause of Action- Bad Faith

       20. AHAC and Cloer were unreasonable in their investigation, evaluation, and nonpayment

of Plaintiff’s claim. AHAC and Cloer arbitrarily and capriciously breached their duty to deal fairly

and in good faith with Plaintiff through the following acts and omissions:

       A. By failing to pay the amount due Plaintiff in accordance with the terms and conditions of
          the subject commercial policy;

       B. By withholding payment of the benefits from Plaintiff’s claim even though AHAC and
          Cloer knew Plaintiff’s claim for these benefits was valid;

       C. By refusing to honor Plaintiff’s claim by knowingly misconstruing and misapplying
          provisions, terms, and/or definitions of the subject policy;

       D. By intentionally breaching its fiduciary duty owed to Plaintiff by failing to provide the
          protection for which Plaintiff paid; and


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        E. By violating the “Unfair Claims Settlement Practices Act” in 36 O.S. §§ 1250.1-1250.16.

        21. As a proximate result of AHAC’s and Cloer’s breach of their duty of good faith and fair

dealing, Plaintiff has suffered damages in the form of policy benefits, financial losses, mental and

emotional distress, financial hardship, attorney expenses and other incidental damages, exclusive of

interest and costs.

                           VI. Third Cause of Action – Punitive Damages

        22. The unreasonable conduct of AHAC and Cloer in the handling of Plaintiff’s claim was

intentional, willful, and wanton and was committed with a reckless disregard for the rights of the

Plaintiff for which punitive damages are hereby being sought. Furthermore, AHAC’s and Cloer’s

conduct was part of an overall plan or scheme designed to, and which in fact did result in, increased

profits and financial windfall to Defendants. AHAC and Cloer enjoyed increased financial benefit

and were unjustly enriched as a direct result of the wrongful conduct described above herein, which

resulted in injury to Plaintiff.

                                         Prayer for Relief

        WHEREFORE, premises considered, Plaintiff demands trial by Jury. Plaintiff prays for

judgment in its favor and against each Defendant named herein for:

        A. Payment for all contractual benefits for all coverages afforded to Plaintiff under its
           commercial insurance policy for damage to its place of business caused by the April 11,
           2016 hail and windstorm, with interest on all amounts due;

        B. Compensatory damages for intentional infliction of emotional distress;

        C. Disgorgement of the increased financial benefits derived by any and/or all of the
           Defendants as a direct result of the conduct causing injury and damages to Plaintiff;

        D. Actual and punitive damages in an amount in excess of $2,237,380.98; and

        D. Prejudgment and post judgment interest on all damages, court costs, expert fees,
           attorney’s fees and expenses.




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                                           Respectfully submitted,

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